                                                                                                                             Reset Form

 1                                                        UNITED STATES DISTRICT COURT
 2                                                   NORTHERN DISTRICT OF CALIFORNIA
 3   THE REGENTS OF THE UNIVERSITY OF CALIFORNIA and JANET                     )            No. C 17-5211 WHA
     NAPOLITANO, in her official capacity as President of the University of
     California,                                                               )   Case No: _______________
                                                                                            No. C 17-5235 WHA
 4                                                                             )
                                                            Plaintiff(s),      )   APPLICATION FOR
 5                                                                             )   ADMISSION OF ATTORNEY
                  v.
                                                                               )   PRO HAC VICE
 6   U.S. DEPARTMENT OF HOMELAND SECURITY and ELAINE
     DUKE, in her official capacity as Acting Secretary of the Department of   )   (CIVIL LOCAL RULE 11-3)
     Homeland Security,                                                        )
 7                                                                             )
                                                            Defendant(s).
                                                                               )
 8
             I, Jennifer Sokoler                   , an active member in good standing of the bar of
 9     New York                     , hereby respectfully apply for admission to practice pro hac vice in the
10    Northern District of California representing: See Attachment                               in the
                                                                 Apalla U. Chopra
      above-entitled action. My local co-counsel in this case is __________________________________,     an
11    attorney who is a member of the bar of this Court in good standing and who maintains an office
12    within the State of California.
        MY ADDRESS OF RECORD:                                                        LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13
       7 Times Square                                                                400 South Hope Street
14     New York, NY 10036                                                            Los Angeles, CA 90071
        MY TELEPHONE # OF RECORD:                                                    LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15     (212) 326-2000                                                               (213) 430-6000
        MY EMAIL ADDRESS OF RECORD:                                                  LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16     jsokoler@omm.com                                                             achopra@omm.com
         I am an active member in good standing of a United States Court or of the highest court of
17    another State or the District of Columbia, as indicated above; my bar number is: 5158209      .
18        A true and correct copy of a certificate of good standing or equivalent official document from said
      bar is attached to this application.
19       I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
      Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
             I declare under penalty of perjury that the foregoing is true and correct.
21
       Dated: 10/30/17                                                                        Jennifer Sokoler
22                                                                                                         APPLICANT

23
                                                      ORDER GRANTING APPLICATION
24                                              FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Jennifer Sokoler                           is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated: October 31, 2017.
                                                                                      UNITED STATES DISTRICT/MAGISTRATE JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                                            October 2012
